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     5th Dewey Decl.
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23   Transcribed by: JR Language Translation Services, Inc.

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1       CAMILLA TOMINEY: The year the nation decides.

2       CHRISTOPHER HOPE: As the parties gear up their campaigns for the

     next general

3       election.

4       EMILY CARVER: Who will be left standing when the British people

     make one of the

5       biggest decisions of their lives?

6       PATRICK CHRISTYS: Who will rise?

7       OLIVIA UTLEY: And who will fall?

8       MICHELLE DEWBERRY: Let's find out together.

9       SPEAKER 1: For every moment.

10      The highs, the lows, the twists and turns.

11      TOM HARWOOD: We'll be with you for every step of this journey.

12      SPEAKER 1: In 2024, GB News is Britain's Election Channel.

13      CHRISTYS: GB News is the home of free speech.

14      We were created to champion it, and we deliver it day in day out.

15      NIGEL FARAGE: Free speech allows us all to explore and debate

     openly the issues

16      most important to us, our families, and of course, the British

     people.

17      NANA AKUA: Having challenging conversations to enlighten each

     other.

18      MARK DOLAN: Which is why we hear all sides of the argument.

19      FARAGE: We are The People's Channel.

20      DEWBERRY: We will always stand by the freedom to express yourself.

21      ANDREW DOYLE: On TV, radio and online.

22      ANDREW PIERCE: This is GB News.

23      EAMONN HOLMES: Britain's News Channel.

24      CHRISTYS: Big news, big debates, big opinion.

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1       Patrick Christys Tonight is the week's biggest show.

2       Every weekday 9:00 to 11:00 PM, we've got the inside track on the

     day's top story.

3       There will be sharp takes you won't get anywhere else.

4       We will set the news agenda, not just follow it, and I want to

     bring you along for the

5       ride.

6       Whatever it is, we'll have our finger on the polls.

7       It's news, but it's this close to entertainment.

8       Patrick Christys Tonight, 9:00 until 11:00 PM only on GB News, The

     People's

9       Channel, Britain's News Channel.

10      FARAGE: Good evening.

11      This is it.

12      Farage The Trump interview.

13      A couple of snippets for you.

14      Here's what he had to say about Prince Harry.

15      TRUMP: If they know something about the drugs and if he lied,

     they'll have to take

16      appropriate action.

17      FARAGE: His thoughts on October the 7th.

18      TRUMP: You wouldn't have Ukraine, you wouldn't have had Israel, the

     attack on

19      October 7th would never have taken place.

20      FARAGE: Crucially, absolutely crucially, he puts to bed many of the

     myths about

21      America, him, and NATO.

22      TRUMP: No, I'm not going to pay you.

23      We're not going to do it.

24      We're not going to defend you.

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1       If you're not paying your bills, we're not going to defend you.
2       It's very simple.
3       FARAGE: First, the news with Polly Middlehurst.
4       POLLY: Nigel, thanks very much indeed.
5       Good evening to you.
6       Our top story tonight concerns the economy in Britain.
7       The Shadow Chancellor has been speaking at a meeting tonight,
     setting out
8       Labour's plans for Britain's economy, saying it's like a new
     chapter in British history.
9       Addressing finance leaders this evening, Rachel Reeves has been
     likening the
10      challenge of awaiting the next government to that faced by Margaret
     Thatcher in
11      1979
12      She made it clear she plans to reform the treasury if Labour wins
     the next general
13      election.
14      Meanwhile, the first person to be convicted of cyber flashing in
     England, Wales has
15      been jailed for 66 weeks.
16      39-year-old Nicholas Hawkes sent unsolicited explicit photographs
     to a teenager
17      and a woman.
18      The Justice Secretary described the offense as a distressing crime,
     which can't be
19      normalized and said the sentence sent a clear message that that
     behavior had
20      severe consequences.
21      Four people have been hurt, and a dog believed to be an XL Bully
     has had to be
22      shot by police in South London.
23      A warning, if you're watching on television, the following footage
     does contain
24      distressing content.

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1       Let's show you this video clip captured of the attack that happened
     in Battersea in
2       South London just after 10 o'clock last night.
3       A group of people desperately trying to stop the dog in attack mode
     with one person
4       trying to throw a blanket over it to stop it.
5       Four victims we know were taken to hospital for treatment of
     non-life-threatening
6       injuries.
7       The Metropolitan Police have said a 22-year-old man and a
     21-year-old woman
8       have both been arrested on suspicion of being the owners of a dog
     dangerously out
9       of control.
10      The First Minister of Wales delivered an emotional resignation
     speech today after
11      facing questions in the Senate for the final time.
12      He said he's now looking forward to life on the back benches.
13      Mark Drakeford, who's stepping down after five years in the job,
     spoke with feeling
14      as he talked about how difficult the last year had been.
15      DRAKEFORD: For me, personally, the last 12 months has been the
     hardest and the
16      saddest of my life.
17      People will not see beyond the chamber those small acts of kindness
     that happen
18      every day from people in every part of this chamber that help
     someone to get
19      through those very, very difficult times.
20      POLLY: Mark Drakeford talking earlier on today.
21      Now, the Prince of Wales has been visiting housing initiatives in
     Yorkshire today to
22      promote his homelessness project.
23      The future king spoke to landlords and the local authorities in
     Sheffield to see how
24      his Homewards venture could help ease pressure.

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1          The outing comes after The Sun published pictures and a video of

     Prince William

2          with his wife, the Princess of Wales, at a farm shop in Windsor at

     the weekend that

3          follows weeks of social media speculations surrounding the health

     and

4          whereabouts of Princess Catherine.

5          Those are your top stories.

6          For the very latest stories, do sign up for GB News alerts or go to

     gbnews.com/alerts.

7          Now let's take you live to the United States for Farage.

8          FARAGE: Good evening.

9          I tell you what, without further ado, let's get straight into it.

10         This was the beginning of the interview when I talked to him about

     US politics and

11         the election coming up on November the 5th.

12         We're back at Mar-a-Lago with Donald J.

13         Trump, and first things first, the most important thing, thank you

     for allowing GB

14         News to be here.

15         TRUMP: Absolutely.

16         FARAGE: Delighted to be here.

17         Now, how interesting.

18         It's a rematch.

19         5th of November, 2024.

20         It's Trump v Biden again.

21         How are you feeling about this campaign?

22         What do you think your prospects realistically are?

23         TRUMP: In 2016 we did great.

24         In 2020 we did much better than 2016.

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1       It got millions and millions of votes more and very bad things

     happened.

2       Very, very bad things happened and we're not going to let that

     happen again.

3       The COVID came in and they used COVID for reasons other than COVID,

     and it

4       was a disgrace, frankly, and that's what happened to our country.

5       You look at the borders, you look at everything, everything is bad

     with our country

6       right now.

7       It's gone so bad under this guy, the worst president in history,

     and we're going to do,

8       I think, very well.

9       The polls have us leading by a lot and there was a lot of cheating

     going on and

10      we're going to get that cheating stopped.

11      We'll work on that.

12      I say to my people, "Don't worry about the votes.

13      We got plenty of votes.

14      You just make sure during that period--" It used to be one day.

15      Now it's 40 days and 45 days and 48 days.

16      FARAGE: This is the mass mail-out ballots.

17      TRUMP: The ballots are a disaster.

18      Anytime you have mail out or mail in, they call them different

     names.

19      Anytime the mail is involved, you're going to have cheating.

20      You're going to have cheating.

21      It's too bad people don't say it.

22      They don't want to say it.

23      We are going to have, I think, a very good election.

24      The way you win the election is, and you have to do this.

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1       I saw on a show the other day, they said, "You have to allow a

     certain amount for

2       cheating.?

3       I said, "Since when do you have to allow a certain amount for

     cheating on the other

4       side?"

5       You swamp them.

6       You swamp them and we win big.

7       All we do is we focus on that.

8       That's a bad lot.

9       That's a bad, sick lot of people.

10      They've destroyed our country.

11      Look, they've allowed 15 million, probably.

12      That's the number we've got.

13      15 million people.

14      FARAGE: 15 million.

15      TRUMP: 15 million people.

16      That's my opinion.

17      Some people say it's a little bit less.

18      What difference?

19      It's bigger than most states.

20      15 million people to come in from prisons.

21      They come from prisons, many of them.

22      They come from mental institutions and insane asylums like Silence

     of the Lamb,

23      Hannibal Lecter, I wonder if he's one of them.

24      They're terrorists coming into our country.

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1       Totally unchecked.

2       We have no idea.

3       They either hate our country or they're very stupid.

4       FARAGE: 2016, Build a Wall, that was one of the great slogans of

     that campaign.

5       You built some of it.

6       TRUMP: I built most of it.

7       FARAGE: Not all of it, most of it.

8       Trump two.

9       What does Trump term two do about the millions that have come and

     the millions,

10      including thousands of Chinese, which I find quite extraordinary.

11      What are you going to do?

12      TRUMP: We have equal opportunity.

13      We take from everybody.

14      Biden has no idea where they're coming from.

15      We're the safest border in history.

16      Three years ago, three and a half years ago, the safest border.

17      I built 571 miles of wall, which is more than I said I was going to

     build, by the way.

18      Then I was going to add another 200 miles.

19      This is despite opposition from some Republicans and all Democrats.

20      The wall made a big difference.

21      Mexico also contributed very greatly because they gave us, free of

     charge,

22      tremendous numbers of, I would say, 28,000 soldiers, free of

     charge.

23      We had the best border we've ever had.

24      Now we have the worst border in the history of the country.

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1       FARAGE: How do you get it back?

2       What are you going to do to stop this influx?

3       TRUMP: Very much like I did the first time.

4       We're going to drill, baby, drill.

5       We're going to close up the borders.

6       You can come into the country, but you have to come in legally.

7       Don't forget, I had policies that nobody ever even thought of.

8       Remain in Mexico.

9       How about that?

10      You had to remain in Mexico.

11      We would not accept you in our country unless you were approved to

     come

12      through.

13      We had tough borders.

14      Biden likes going to the beach.

15      You can see that.

16      He's always in a bathing suit.

17      It doesn't look good, but he thinks it does, and some advisor does.

18      He could have gone to the beach if he would have left my policies

     in order, having

19      to do with the economy, having to do with everything.

20      If they would have left what we had, you wouldn't have had

     inflation, you would

21      have been energy-independent.

22      We were energy independent, soon-to-be energy dominant, and now we

     get oil

23      from Venezuela.

24      It's not even believable.

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1       Do you know the crime in Venezuela is down 67%?

2       You know why?

3       Because they put all their criminals in our country.

4       They put their gang members, their gang leaders, they moved them to

     America.

5       FARAGE: Well, it's not just people, though, is it?

6       It's fentanyl coming in and making your cities vulnerable.

7       TRUMP: It's fentanyl and it's human trafficking at levels that

     we've never seen

8       before.

9       We had it down to one of the lowest levels ever.

10      It's a horrible thing.

11      The human trafficking, mostly in women.

12      Horrible thing.

13      You think of it as an ancient kind of a crime.

14      It's not.

15      What's made it so big is the internet, believe it or not.

16      I said, why would this be more than ever before?

17      It's the internet.

18      They're coming in now.

19      The traffickers are at levels that we've never seen before.

20      It's unbelievable what's going on.

21      FARAGE: Can you deport people who come across the border illegally?

22      TRUMP: Yes.

23      You'll deport them.

24      I'm going to deport them.

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1       FARAGE: You are?

2       TRUMP: Yes, sure.

3       I'm going to deport them.

4       They're here illegally, especially these criminals, we're going to

     get them out right

5       away.

6       We have millions of criminals in our country that are up for murder

     and drug dealers

7       and everything else.

8       What's happened to our country is not even to be believed.

9       These people they're destroying our country.

10      Some people would say they've destroyed it.

11      Look at the crime in the cities.

12      We have a new crime.

13      It's called migrant crime.

14      I call it Biden migrant crime.

15      Because he's allowed this to happen.

16      New York City has 500,000 migrants.

17      Kids can't play Little League anymore.

18      People can't move around the city anymore.

19      People are being mugged.

20      Policemen having fistfights in the middle of the street.

21      Where do you ever see that?

22      They're having fistfights.

23      Now, in their country, they'd be shot immediately.

24      In this country, they're politically correct.

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1       We're going to do things to help our law enforcement.

2       We're going to get them immunity so they can't get arrested and

     charged and

3       destroyed.

4       Lose their housing.

5       FARAGE: Tougher policing?

6       TRUMP: Yes.

7       They stop crime.

8       They're going to be able to stop crime.

9       FARAGE: We learned in 2020 that the big social media giants, there

     were things

10      they did not want the American people to discuss.

11      The Hunter Biden laptop being a very good example of that.

12      Your speech in Ohio the other day, talking in that state that's

     been associated with

13      car making for over 100 years, and just flicking through American

     press particularly,

14      Trump says there'll be a bloodbath if he doesn't win the election.

15      Clearly, you were talking about an economic bloodbath-

16      TRUMP: That's right.

17      FARAGE: -in terms of the car manufacturing industry and what China

     was doing

18      setting up in Mexico.

19      Yet this is what's being pushed.

20      Picked up by left-wing media sources all over the world.

21      It's quite interesting.

22      TRUMP: Well, it happens all the time.

23      Talking about it's going to be a blood bath in the auto industry

     because we're going

24      to lose our whole industry because this guy's going to all-electric cars, and they're


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1       made in China.

2       That's where the material is, that's where the minerals are.

3       That's where everything is.

4       They're going to all be made in China and they want to go

     all-electric cars.

5       One of the dumbest-- they don't go far, they cost too much, et

     cetera, et cetera.

6       If you want electric, you can get electric, but you've got to have

     other forms of

7       propulsion, and we're going to have that.

8       We're going to have gasoline.

9       We have more gasoline than any country in the world, meaning oil

     and gas.

10      We have it and they don't want us to use it.

11      You figure that one out.

12      The electric mandate's going to destroy the auto industry.

13      I said, it's going to be a terrible blood bath for the auto

     industry.

14      They're being led right down.

15      They have a leader that would only go Democrat, I guess, because

     I'm going to

16      create-- I guarantee you that the people within that industry, or

     the workers, are with

17      me.

18      The United Auto Workers, it's going to be put out of business.

19      FARAGE: That's really interesting because it is part of the shift.

20      I noticed the way that bloodbath's been used.

21      It's no surprise that GBN America, many British titles, are doing

     well in America, are

22      going to feel that American people increasingly don't trust

     American media titles.

23      TRUMP: They don't trust, but when you use the word bloodbath, I did

     a little truth

24      the other day.

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1          Truth is on fire.

2          It's doing great.

3          I put it out this morning, I guess it was put out, and it talks

     about the word bloodbath,

4          and all of the people that are complaining about it, they all used

     it.

5          It's a commonly used phrase when you're getting slaughtered

     economically, when

6          you're getting slaughtered socially, when you're getting

     slaughtered.

7          They use it all the time and we have many examples and we put out

     all those

8          examples.

9          That doesn't stop it.

10         FARAGE: Some incredible polling from the Black community, more than

     double the

11         numbers of the Black community supporting you this time to just

     four years ago.

12         The Hispanic community, the change that is going on there.

13         What is it that's attracting those traditionally Democrat-type

     voters to you?

14         What's happening here?

15         What's the issue?

16         TRUMP: Different communities.

17         With the Black community, I'm getting tremendous polling.

18         Nobody's ever seen it like for a Republican.

19         I did criminal justice reform, they know it.

20         I gave them opportunities that nobody's ever given.

21         The opportunity zones and all of the other work that I've done with

     Tim Scott, a great

22         senator from South Carolina, and a great guy, by the way.

23         He ran and I say he promotes me better than he promoted himself.

24         He's unbelievable.

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1       He goes and he said, "I don't like talking about myself.?

2       I said, "That's actually a nice trait."

3       FARAGE: Was that his audition to be the VP?

4       TRUMP: Yes.

5       He's one of the many people that people talk about, and he's

     certainly a very

6       capable guy.

7       He's been incredible, but we did opportunity zones.

8       Think of it, criminal justice reform, opportunity zones, and I

     funded the Black

9       colleges and universities and nobody did that.

10      For years and years, they didn't do it.

11      They just wouldn't do it and I did it.

12      I got it funded for a long time.

13      For three years, the heads of these universities, I'd have on

     average probably 45, 50

14      people come.

15      Every year I'd say, "Why do you keep coming?

16      Why?"

17      One of them said to me, Ralph, he said, "They make us like we're,

     like the old days,

18      like from 150 years ago.?

19      You know what?

20      He said, "They make us feel like beggars.?

21      I said, "Why?" He said, "They make us come back every year.?

22      I said, "We're going to take care of you long-term.?

23      I took care of them long-term.

24      I got them a lot of money.

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1       I got them more money than they asked for, for the colleges.

2       They perform a very important function and they do a great job.

3       I took care of them, Nigel.

4       I said, "The only bad thing is I've gotten to like you guys and

     I'll never see you

5       again.?

6       I probably will never see them again.

7       They don't have to come to Washington every year.

8       Black people saw that.

9       Hispanics.

10      Very entrepreneurial people.

11      They like me.

12      I like them.

13      I'm leading all along Texas and the Texas--

14      FARAGE: Family values as well, perhaps quite important to raise?

15      TRUMP: I think there's family values.

16      FARAGE: Christianity quite important in that community.

17      TRUMP: I think so.

18      All of the things.

19      Look, we're doing so well.

20      Nobody has ever done well with the Hispanics like I've done, with

     the Black

21      community.

22      The whole thing has been amazing.

23      Asian community.

24      We're doing well with women it just came out because women want security.


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1       They want to have security.

2       Other countries are laughing at us.

3       We have Iran building a nuclear weapon.

4       That would have never happened with me.

5       FARAGE: Well, a very bullish Donald Trump.

6       He clearly thinks he is going to win the election.

7       He sees the polls going his way.

8       Boy, doesn't he have a go at US mainstream media?

9       Well, joining me to discuss some of the content of that is Michael

     LaRosa, a former

10      press secretary for the First Lady in the Biden administration.

11      Michael, just to start on the media point, I'm sure during your

     time working with the

12      Bidens you've seen newspaper headlines that have made you angry

     because

13      they've been out of context.

14      Trump, he does have every right to be angry, doesn't he, about the

     way the word

15      blood bath has been used?

16      LAROSA: Well, Donald Trump himself has always had a casual

     relationship with

17      the truth himself in our country.

18      Yes, I would tend to agree that it was probably taken out of

     context, but it was a

19      Republican senator, actually, yesterday who said, a Republican

     senator from

20      Louisiana who said it's this kind of language.

21      Even though he was referring to the auto industry, talking about a

     bloodbath, if he's

22      not elected, that's the kind of rhetoric and language that really

     turns off the voters

23      that Mr. Trump needs to win a close election.

24      Places like in the suburbs where he lost to Joe Biden by 10% and lost to, I think,


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1       Hillary Clinton by 6%.

2       That kind of language, overall, while even though it was taken out

     of context, I'd

3       probably use different language if I were him going forward.

4       FARAGE: Okay.

5       No.

6       I get the point you're making.

7       Now, look, at the moment, Michael, if you look at the swing states,

     he is clearly, at

8       the moment, in the lead, and that's perhaps why he's as bullish as

     he is, but I put it

9       to you that actually maybe the Democrats will be better to change

     horses.

10      Maybe Joe Biden at 81 is just too old to be the candidate this time

     round.

11      LAROSA: Well, there's two candidates who are old.

12      They're only about three years apart.

13      Regardless of who wins, we're actually going to elect the oldest

     president in

14      American history for the third time in a row, third election in a

     row.

15      Americans have proven that they really don't view age as an

     impediment.

16      That said, you have two old men.

17      Neither of whom are particularly popular at the moment, personally.

18      However, one has 91 criminal indictments against him, the other one

     doesn't.

19      That has to play a role as well.

20      Age, but also character.

21      FARAGE: Well, some people hate Trump.

22      Some absolutely love him.

23      They're very, very strong emotions the video arouses, but come on,

     Michael, who do

24      you think is going to win?

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1       Who is going to win on November the 5th?

2       LAROSA: I'll say two things.

3       I do think Joe Biden never trailed Donald Trump in the polls in

     2019 and 2020 when

4       I was on the Biden campaign.

5       It is concerning to see Joe Biden consistently behind.

6       That said, polls don't tell us where we're going, they tell us

     where we are.

7       It's important to keep that in mind.

8       They're not meant to be predictive.

9       They are meant to be instructive.

10      I would hate to predict, but I do think given the way independent

     voters in this

11      country have decided elections in the last three cycles, in 2018,

     2020, and 2022,

12      independents have swung to Joe Biden.

13      That's good news for the Biden campaign, is that if they're looking

     at the voting

14      behavior and patterns of Americans recently, they have reason to be

     optimistic.

15      FARAGE: All right.

16      Okay.

17      Michael LaRosa, thank you for joining us.

18      Thank you for giving us your thoughts.

19      In a moment, we will get Donald Trump's take on Prince Harry.

20      Did he lie on his visa application about his drug taking?

21      TRUMP: If they know something about the drugs and if he lied,

     they'll have to take

22      appropriate action.

23      ANNOUNCER: Mark Dolan tonight, weekends from 9:00 PM.

24      DOLAN: I've personally been very torn on whether Prince Harry should have full


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1       police protection when he's in the United Kingdom.

2       On the one hand, why should taxpayers fork out for somebody that's

     left the country

3       and the institution?

4       He is no longer a working, serving royal, but I don't think it

     matters.

5       He is one of the most famous men in the world, and whether he's a

     royal or not, he

6       is an ambassador for this country.

7       He still does good.

8       Charitable causes, the Invictus Games, and he is still a nice and

     charming guy with

9       a heart.

10      Whilst he has left the royal family and departed these shores, he

     was and remains

11      the son of King Charles.

12      That is a biological fact.

13      Well, let's hope so.

14      It wasn't his choice to be born into royalty.

15      It wasn't his choice to be the son of the King.

16      For that reason, I think he should have equal police protection to

     his brother William

17      when he is in this country.

18      He couldn't be a more high profile figure.

19      Unfortunately, like all the royals, Harry will be a target for some

     very bad people.

20      I fear that if, God forbid, anything happened to him or his family,

     the authorities

21      would have blood on their hands.

22      It's not often that I back Prince Harry, but on this one, he has my

     support.

23      Look what happened to his poor mum.

24      Killed in a Paris tunnel in the 1990s with an allegedly drunk chauffeur.


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1          A top royal security insider recently told me that Diana would

     still be with us today if

2          she had had top royal protection at that time.

3          Let's not make the same mistake twice.

4          Prince Harry needs full protection and the best we've got.

5          Yes, he might be a numpty but he's our numpty.

6          ELLIE COSTELLO: From 10:00 AM every Saturday.

7          We want to make you think and we want to make you laugh.

8          PETER ANDRE: We'll give you all the top stories.

9          COSTELLO: Now we start with a story that has shocked the nation

     this week.

10         ANDRE: We're also going to make it light and fun and bring some

     entertainment in

11         to make your Saturday morning nice and restful.

12         COSTELLO: Only on GB News, Britain's News Channel.

13         ANNOUNCER: Every Sunday from 11:00, join Michael Portillo.

14         MICHAEL PORTILLO: There'll be topical discussion, looking at the

     week before and

15         the week to come.

16         Kick back and relax at 11:00 AM on Sundays on GB News with me,

     Michael Portillo.

17         GB News, the People's Channel, Britain's News Channel.

18         DOYLE: I'm Andrew Doyle.

19         Join me at 7 o'clock every Sunday night for Free Speech Nation, the

     show where I

20         tackle the week's biggest stories in politics and current affairs,

     with the help of my

21         two comedian panelists and a variety of special guests.

22         ANNOUNCER: Free Speech Nation, Sunday nights from 7:00 on GB News,

     the

23         People's Channel, Britain's News Channel.

24         FARAGE: Well, the royal family continue to dominate headlines in our newspapers.


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1       Of course, there's always an enormous level of interest in America

     in them,

2       especially from Donald Trump.

3       Have a listen to what he has to say, especially about Prince

     Harry's future in

4       America.

5       There's one family that never goes away from the headlines.

6       It's the royal family at both sides of the pond.

7       We talk about it constantly.

8       One of our recent exports to you is Prince Harry, who, of course,

     is living on the

9       West Coast.

10      Really interesting.

11      He's written this book, Spare, in which he openly admits to taking

     psychedelic

12      drugs, to taking cocaine, to taking cannabis, and no one knows the

     truth.

13      What did he put on his American visa form?

14      Now, we know that you're not a great fan of him or Meghan.

15      We've talked about that before, but don't the American people

     deserve to know the

16      truth about what went on that visa form?

17      TRUMP: Well, I guess so.

18      I haven't spoken about him in a long time.

19      I think there was great disrespect done to a person that I got to

     know very well.

20      Like the Queen, she was unbelievable.

21      I got to know her very well.

22      Remember, I was supposed to be with her for 10 to 15 minutes and we

     ended up

23      being for two hours.

24      Then we had dinner the following night.

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1       It was such a beautiful honoring the country, but the president of

     the United States,

2       really.

3       I would think the country, but they were honoring me.

4       I got to know her very well over the course of the couple of years,

     and she was

5       unbelievable.

6       I thought she was treated very disrespectfully by them.

7       FARAGE: By Harry.

8       TRUMP: Very, very.

9       I would say, although she wouldn't show it because she was strong

     and smart, but I

10      would imagine they broke her heart.

11      The things that they were saying were so bad and so horrible.

12      She was in her 90s and hearing this stuff.

13      I think they broke her heart.

14      FARAGE: That was horrible.

15      TRUMP: I think they really hurt her very bad.

16      FARAGE: If he's lied on his visa form, doesn't the truth need to

     come out?

17      Should he get special privileges that nobody else does?

18      TRUMP: No.

19      We'll have to see if they know something about the drugs.

20      If he lied, I'll have to take appropriate action.

21      FARAGE: Appropriate action?

22      TRUMP: Yes.

23      FARAGE: Which might mean not staying in America.

24      TRUMP: Oh, I don't know.

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1       You'll have to tell me.

2       You just have to tell me.

3       You would have thought they would have known this a long time ago.

4       I thought they were very disrespectful to the royal family.

5       I'm a big fan of the concept of the royal family, and the royal

     family.

6       Now, I'm a little prejudiced because I thought the Queen was

     incredible.

7       Think of it.

8       All those years, 75 years, she's almost never made a mistake.

9       FARAGE: It's almost unbelievable.

10      TRUMP: I see politicians, they make mistakes every day.

11      Biden, every day, he makes a mistake.

12      FARAGE: Well, we all make mistakes.

13      TRUMP: He can't talk.

14      He can't put two sentences together.

15      She never made a mistake, if you think about it.

16      It was a very interesting thing.

17      When I was with her, and it turned out to be a real relationship,

     somehow we just

18      got along and she said it to people, and I say it to people, but I

     said, "Who was your

19      favorite Prime Minister?" "Oh, I liked them all.

20      Oh, they were all wonderful, weren't they?"

21      I said, "Well, but did you like Winston Churchill the best?

22      Who do you-- "Oh, he was lovely, but no, I liked every one of them.

23      I liked them all.?

24      I couldn't get her to say.

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1       I couldn't do it.

2       I tried.

3       Then I said, "Who is your favorite president?" "Honestly, I liked

     them all so much.

4       They were all so wonderful."

5       "Didn't you like Ronald Reagan the best?" "No.

6       I thought he was wonderful, but I liked them all.

7       I got along with everyone.?

8       I realized this was genius because I don't walk out saying she

     liked this one, she

9       liked that one.

10      She liked them all.

11      She liked them all.

12      She was unbelievable.

13      When you see the people, the lightweights that we have to watch

     today and

14      nowadays and watching like our president, he goes every day.

15      He can't speak.

16      She went through years and years, decades and decades

17      FARAGE: Look, she was-

18      TRUMP: -without making a mistake.

19      FARAGE: -an incredible woman.

20      Of course, Charles had a long wait to be king, and now he's got

     cancer.

21      I know that you and he have got some slightly different views on

     things, but--

22      TRUMP: No, we have different views-

23      FARAGE: -you always [crosstalk].

24      TRUMP: -we got along.

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1       I think he's a really wonderful guy.

2       We got along.

3       He was a little bit more into environmental restriction than I am.

4       I'm an environmentalist, I feel in a true sense, but I'm a

     different kind of

5       environmentalist.

6       I want to get things built.

7       I want to get things done.

8       He was very much into the environment and he meant it from the

     heart.

9       Now, I got to know him very well.

10      I like him and I hope he is going to be okay.

11      FARAGE: Kate, of course, who so many of us have felt that Kate,

     she's obviously

12      been ill, had a major surgery, a photograph that the press say was

     doctored now an

13      enormous row.

14      It's pretty tough being in her position, isn't it?

15      TRUMP: Well, that shouldn't be a big deal because everybody

     doctors.

16      You look at these movie actors and you see a movie actor and you

     meet them and

17      you say, is that the same person in the picture?

18      I looked at that actually, and it was a very minor doctoring.

19      I don't understand why there could be such a howl over that.

20      FARAGE: I think she'll be back.

21      TRUMP: She's hard.

22      It's a rough period that they went after her.

23      FARAGE: The whole family's having a rough period.

24      Well, Trump, no fan of Prince Harry, and who knows what will happen if he's


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1       president?

2       I wonder.

3       I'm joined by broadcast journalist Judita DaSilva.

4       Judita, the real question here is, don't the American public

     deserve to know the

5       truth?

6       Either he lied on the visa forms or was given a free pass by the

     Biden

7       administration.

8       It is a fair question, isn't it?

9       JUDITA DASILVA: I think you have to approach it the same way as the

     topic we just

10      saw you talking when he talked about Princess Kate.

11      These are not everyday civilians.

12      Whether you like or dislike Prince Harry, he's not an everyday

     civilian.

13      He's afforded certain protections that the everyday person doesn't

     have because

14      they don't need it.

15      To say that his application should be made public information is

     just unjustifiable

16      because at the end of the day, there are certain risks he is open

     to that everyone

17      else isn't.

18      Doing that opens him up even further to that.

19      Yes, there has to be scrutiny of his application.

20      Where there are holes, those holes have to be investigated.

21      That is something that shouldn't be public fodder because at the

     end of the day, we

22      live in this time, the social media era, where everyone feels they

     have a right to

23      everything and that just isn't healthy and it isn't justified.

24      I think that Prince Harry needs to be afforded a bit more grace whether you like him


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1       or not.

2       FARAGE: Yes.

3       I get the point you're making.

4       However, a lot of people here, not just Donald Trump, do feel that

     somehow he's

5       either lied or the rules have been changed.

6       I don't know.

7       I do understand your point.

8       People in very high positions of profile do need some degree of

     privacy.

9       Judita, I understand when you saw the earlier clip, I was talking

     with Trump about

10      the quite rapid rise in support that he's had from Black and

     Hispanic voters.

11      I understand you've got some thoughts on that.

12      DASILVA: I do because it's something that I've talked about to a

     lot of Black

13      journalists.

14      I think that this is a very important watershed moment when it

     comes to the

15      Democrats and going into the election.

16      You have to understand that whatever opinion you have of Donald

     Trump, he's very

17      cunning because he comes from a pedigree that speaks to the new

     generation.

18      He's a TV man.

19      He was a reality personality.

20      He's a social media politician.

21      He knows how to pan when he achieves something he bandies it about

     with

22      rhetoric and lets you know it has been done.

23      When it comes to the Black vote, the new wave of voters are not the

     generation that

24      have a lived memory of civil rights.

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1       It's historical learning to them.
2       The feely that Black voters have always historically had the
     democratic party comes
3       from lived memory of civil rights affiliation.
4       The new voters don't have that.
5       If you don't appeal to them and speak to a language that they
     understand, they do
6       not feel that they're beholden to the Democratic vote.
7       That is why you are finding that there is an increased moved where
     a Black person
8       will now just challenge, do you speak a language I understand?
9       Do you appeal to me?
10      I don't care who you are.
11      Until the Democrats understand that young Black people don't owe
     you anything,
12      you have to work to earn their vote, you will lose them to Donald
     Trump because
13      he's speaking a language that appeals to them, which is glossy,
     it's flashy, it's
14      bombastic, and it's braggy.
15      That's the kind of language they understand.
16      FARAGE: No, you're right.
17      It is the young Black voters, particularly the young that are
     moving to him.
18      Judita, many thanks for your thoughts and comments on Harry and the
     Black vote.
19      Now, for the single most important part of this interview, some of
     Trump's comments
20      on NATO that were recently made have been twisted by those that say
     America
21      would withdraw from the world stage and leave NATO if he became the
     next
22      president.
23      I'm pleased to say this interview disproves that completely.
24      If they start to play fair, America's there.

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1       TRUMP: Yes, 100%. 100%.

2       FARAGE: Thank you.

3       AIDAN MCGIVERN: Hi there and welcome to the latest GB News forecast

     from the

4       Met Office.

5       Cloud will thicken for many of us over the next 24 hours, turning

     damp, but the rain

6       does ease later on.

7       Now we're going to see a weather system approach from the

     southwest, associated

8       with an area of low pressure that's forming at the moment.

9       That's going to push a finger of rain into much of Wales, southwest

     England, and

10      then overnight Northern Ireland, southern, eventually central

     Scotland, as well as

11      parts of the Midlands and East Anglia.

12      Now the far southeast is likely to stay mainly dry, 10 Celsius

     here, and the far

13      northwest of Scotland, also dry with clear spells, a touch of frost

     as we start off

14      Wednesday.

15      That's the best place for any bright weather first thing.

16      Elsewhere a lot of cloud cover, those spells of rain continuing

     through the morning,

17      turning heavy for a time across parts of Wales and northern England

     before

18      eventually the rain fragments and pulls away, but it does tend to

     stay damp across

19      this central swathe of the UK.

20      A few showers elsewhere, but actually, western Scotland, Northern

     Ireland,

21      brightening up nicely, feeling fresh here, but feeling warm in the

     southeast where

22      there will be some afternoon sunshine and highs of 18 Celsius.

23      Thursday is a very different day.

24      We start the day with outbreaks of heavy rain across the northwest, strong winds


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1       moving in as well, the rain spreading across northern Ireland and

     Scotland during

2       the morning and early afternoon, thickening cloud across England

     and Wales, but

3       the rain not arriving here until much later on.

4       Friday, a return to sunny spells and blustery showers, the heaviest

     downpours

5       towards the northwest.

6       CHRISTOPHER HOPE: I'm Christopher Hope.

7       GLORY DIPIERO: I'm Glory DiPiero.

8       Bringing you-

9       HOPE: - PMQs Live here on GB News.

10      Every Wednesday we'll bring you live coverage of Prime Minister's

     questions when

11      Rishi Sunak and Sir Keir Starmer go head-to-head in the House of

     Commons.

12      DIPIERO: We'll be asking our viewers and listeners to submit the

     questions that

13      they would like to put to the Prime Minister, and we'll put that to

     our panel of top

14      politicians in our Westminster studio.

15      HOPE: That's PMQs Live here on GB News, Britain's election channel.

16      CHRISTYS: Big news, big debates, big opinion.

17      Patrick Christys Tonight is the week's biggest show.

18      Every weekday, 9:00 to 11:00 PM, we've got the inside track on the

     day's top stories.

19      There'll be sharp takes you won't get anywhere else.

20      We will set the news agenda, not just follow it, and I want to

     bring you along for the

21      ride.

22      Whatever it is, we'll have our finger on the pulse.

23      It's news, but it's this close to entertainment.

24      Patrick Christys Tonight, 9:00 to 11:00 PM, only on GB News, the People's Channel,


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1         Britain's News Channel.

2         TOMINEY: Join me, Camilla Tominey, every Sunday at 9:30 when I'll

     be

3         interviewing the key players in British politics and taking them to

     task.

4         This report basically says that he's not fit to stand trial.

5         With an upcoming election looming over Westminster, now is the time

     for clear,

6         honest answers.

7         SPEAKER 2: I agree.

8         TOMINEY: That's precisely what I'll get.

9         Is he indecisive?

10        Incompetent?

11        That's the Camilla Tominey Show at 9:30 every Sunday on GB News,

     The People's

12        Channel, Britain's election channel.

13        FARAGE: "Yes, 100%.?

14        That's exactly what he said, and it's rare, isn't it, for political

     leaders to be as

15        unequivocal as that.

16        Listen to this clip about NATO and the reasons why he sometimes

     says the things

17        that he does.

18        Now, the massive debate back across the pond is NATO.

19        Everyone is talking NATO, every day.

20        It was your comments about them not paying enough, not paying the

     2%- [crosstalk]

21        TRUMP: They got to pay.

22        FARAGE: -and you said this back in 2017 and '18 when you were

     president, you

23        visited Brussels.

24        You said it again recently.

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1       You made a comment, "Well, the Russians could do whatever they want

     if these

2       guys don't pay.?

3       That's now being used

4       TRUMP: Well, they can use it.

5       I don't really care if they use it because what I'm saying is

     that's a form of

6       negotiation.

7       Why should we guard these countries that have a lot of money and

     the United

8       States was paying for most of NATO?

9       When I went there-- And I already had it out with them, and now

     they stopped

10      paying again.

11      Now they're paying because of those comments that you saw two or

     three weeks

12      ago.

13      I don't know if you know, but a lot of money is coming since those

     comments were

14      made.

15      NATO was not paying.

16      I said, "Well, the United States, they take advantage of the US on

     trade like crazy, as

17      bad as almost anybody.

18      Then on top of it, NATO would largely-- Similar countries, the same

     countries,

19      NATO, they weren't paying their bills.

20      I went to the first meeting and I saw that.

21      I didn't want to do it at my first meeting, I just got there.

22      I went to the first meeting early in my administration and I saw

     what was going on.

23      I said, "You're going to have to pay your bills, everybody.?

24      The second meeting, I hit them hard.

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1       The question was asked by the head of a major country in front of

     everyone else.

2       28 countries at the time, including us.

3       They said, "If we don't pay our bills, are you going to protect us

     from Russia?" I said,

4       "You mean you're delinquent, you're not paying the bills?" "Yes.

5       No.

6       I'm not going to pay you.?

7       "We're not going to do it.

8       We're not going to defend you.

9       If you're not paying your bills, we're not going to defend you,

     it's very simple.?

10      Hundreds of billions of dollars came flowing in.

11      Now, if I say, "Yes, I am," they're not going to pay their bills.

12      Why would they do that?

13      Obama would go and make a speech, Bush would go and make a speech.

14      Frankly, my biggest fan-- I don't know if that's still true, I

     would hope so.

15      The Secretary General-

16      FARAGE: Mr. Stoltenberg.

17      TRUMP: -Stoltenberg, he couldn't believe it.

18      He said, "I can't believe it.

19      He got people to pay up hundreds of billions of dollars.?

20      NATO became strong because of me.

21      Now, NATO has to treat the US fairly because if it's not for the

     United States, NATO

22      literally doesn't even exist.

23      They took advantage of us like most countries do.

24      FARAGE: This is being used in Brussels as we've got to have a European defense


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1       force, even talk of Brussels having a nuclear weapon.

2       Let's just try and get somewhere on this.

3       If they start to pay their bills properly and the club is fair, our

     place is like Poland

4       defended.

5       Will America be there?

6       TRUMP: Yes, but the United States should pay its fair share, not

     everybody else's

7       fair share.

8       FARAGE: No, fair enough.

9       TRUMP: I believe the United States was paying 90% of the cost of

     NATO.

10      It could be 100%.

11      It was the most unfair thing.

12      Don't forget, it's more important to them than it is to us.

13      We have an ocean in between some problems.

14      We have a nice, big, beautiful ocean.

15      It's more important for them.

16      They were taking advantage-- They did.

17      They took advantage of us on trade and they took advantage on the

     military.

18      [crosstalk]

19      FARAGE: If they start to play fair, America's there?

20      TRUMP: Yes, 100%.

21      FARAGE: Thank you.

22      The other big one, of course, is Ukraine.

23      America has given $75 billion to Ukraine and [crosstalk]--

24      TRUMP: Much more.

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1       FARAGE: Much more?

2       TRUMP: Double, maybe triple that.

3       FARAGE: Huge amounts of money.

4       You've said before you believe a negotiation can take place to find

     peace.

5       You could sort it out quickly, but is Putin the kind of man we can

     negotiate with?

6       TRUMP: Yes, I think he is.

7       FARAGE: Do you?

8       TRUMP: We did very well with him.

9       Look, I stopped the pipeline Nord Stream 2.

10      People don't realize that.

11      They say I like Putin.

12      I get along with Putin great.

13      I get along with President Xi great.

14      That's a good thing, not a bad thing, but I stopped the pipeline.

15      Putin would say, "If you're supposed to be my friend, I'd hate to

     see you when you

16      were my enemy," because I had it done.

17      Then Biden came in and right away he approved it.

18      Going to Germany and all over Europe, the pipeline must be just

     about the biggest

19      pipeline [crosstalk]--

20      FARAGE: The Putin's response to strength, you believe?

21      TRUMP: Excuse me?

22      FARAGE: Putin response to strength.

23      TRUMP: I don't know what he responds to.

24      He responded to me.

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1       I can tell you one thing, he certainly wouldn't have gone into

     Ukraine, no way.

2       He didn't.

3       People say, "How do you know that?" Even Democrats say he wouldn't

     have gone

4       if I were president.

5       You wouldn't have Ukraine.

6       You wouldn't have had Israel.

7       The attack on October 7th would never have taken place.

8       Iran was broke, they had no money.

9       I said, "Anybody that buys oil from Iran can't do business in the

     United States.?

10      Biden comes along and he lifted everything.

11      Now, Iran has $221 billion.

12      On top of that, we gave him $6 billion for a couple of hostages,

     for 5 hostages.

13      FARAGE: Yes.

14      TRUMP: $6 billion, that's a lot of money.

15      We gave them $10 billion for electric bills to Iraq.

16      Now, why are we involved with electricity for Iraq and they don't

     treat us with great

17      respect, in all fairness?

18      Essentially, they're a subsidiary of Iran, if you think about it.

19      That's the way it is.

20      FARAGE: We're facing all these problems.

21      We've got a conservative party in the UK in a rapid downward

     [chuckles] spiral, it

22      would seem if you believe the opinion polls and see the arguments.

23      A labor party massively ahead in the polls.

24      Sir Keir Starmer is almost certainly going to be the next British Prime Minister.


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1       I just wondered, has he reached out to you at all in any way?

2       TRUMP: I'm not reaching out, I'm not president right now.

3       I'll reach out if it's appropriate.

4       It's not my job to reach out.

5       FARAGE: But he has not reached out to you?

6       [crosstalk]

7       TRUMP: Many of them call me, many foreign leaders.

8       I had Viktor Orb?n here, who was a very powerful leader in Hungary,

     and Prime

9       Minister.

10      He actually said, "The reason the world is exploding is because

     Trump's not

11      President.

12      If Trump were President, none of these things would be happening."

13      FARAGE: We also got China to think about.

14      Our friends at Sky News Australia wanted me to ask you this.

15      The Aukus deal that's in place on nuclear submarines, America, the

     UK, Australia,

16      very, very important deal.

17      It's there to try and combat that huge growth, naval growth in

     China.

18      Now, of course, things have changed in Australia.

19      We've got a labor government in Australia.

20      The previous ambassador, Joe Hockey, I think was quite a good

     friend of yours.

21      You got on pretty well with him.

22      Now they've appointed Kevin Rudd, former Labor MP.

23      He has said the most horrible things, "You were a destructive

     President, a traitor to

24      the West," and he is now Australia's ambassador in Washington.

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1       TRUMP: Well, I don't know.


2       FARAGE: Would you take a phone call from him?


3       TRUMP: He won't be there longer if that's the case.


4       I don't know much about him.


5       I heard he was a little bit nasty.


6       I hear he's not the brightest bulb, but I don't know much about


     him.


7       If he's at all hostile, he will not be there long.


8       FARAGE: Fair enough.


9       Finally, are you looking forward to this campaign, this election?


10      You've got [crosstalk]--


11      TRUMP: I've been campaigning.


12      FARAGE: How are you doing it?


13      Now you've got all these legal cases mounting up.


14      They valued Mar-a-Lago at $18 million.


15      TRUMP: Because the courts are rigged.


16      FARAGE: What's going on?


17      TRUMP: The courts are rigged.


18      They did, they valued it.


19      It had an appraisal of 1.5 billion, 1 billion, 2 billion.


20      Who knows what it's worth?


21      Because that was good for their narrative, so they valued it at $18


     million because


22      it's a crooked legal system, very crooked.


23      That's why people are leaving New York.


24      Companies are fleeing New York because of even this decision, they're leaving


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1       New York.

2       Now, they come after me because I'm in the election.

3       If I didn't run or if I was in 4th place or 5th place or 9th place,

     there'd be no attacks.

4       If we don't win-- I'll tell you, I made the statement the other

     day.

5       November 5th, that's election day, not that far away.

6       November 5th is going to be the most important day in the history

     of our country.

7       With that being said, seven months is a long time when you have

     somebody as

8       destructive and incompetent as this president.

9       That's a long time.

10      A lot of bad things can happen to our country in that seven months.

11      FARAGE: Donald Trump, thank you very much, indeed.

12      [crosstalk]

13      TRUMP: Thank you.

14      Thank you very much.

15      FARAGE: I'm joined by former NATO Commander, Rear Admiral Chris

     Parry.

16      Chris, this does at least put to bed the stories that we've been

     hearing from former

17      foreign secretaries and many in mainstream media that somehow

     Trump's America

18      would walk away from NATO, provided we all play by the rules.

19      They're there, they're with us.

20      That must be good news.

21      CHRIS PARRY: Nigel, we've spoken about this before, and we never

     believed that

22      was the case.

23      There's a lot of internal external audiences that Trump is playing

     to right now.

24      For about 10 years now, the Americans have been saying, "Look, in the past,


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1       whenever there's been trouble in the world, we've always been the

     sheriff.

2       We hand out a few deputy's badges, we form a posse or a coalition,

     we sort it out,

3       and then we go home."

4       They've been saying for some time now, "Unless you invest in your

     defense in your

5       region, whether it's Europe or the Asia Pacific, the cavalry ain't

     going to come.?

6       It's as simple as that.

7       Every time either Israel or South Korea or others have actually

     called and said,

8       "Look, we can't cope with this," the Americans have turned up.

9       I believe what the American establishment and also President Trump

     says, of

10      course.

11      He's slightly wrong, of course, [chuckles] with how much America

     contributes.

12      It's about 70%, not 90% or 100%.

13      Of course, he's a bit [crosstalk]--

14      FARAGE: It's still a lot.

15      [chuckles]

16      PARRY: Oh, no, it's far too much.

17      We've all been freeloading on America.

18      It suits America really, because they've got a lot of bases here in

     Europe.

19      They get a lot of support from us.

20      If they're going to lead the free world against this autocratic

21      coalition of Russia, China, Iran, and North Korea, they're going to

     need our help.

22      I'll give you an example.

23      The United States Navy can't be everywhere at once, but if you add

     up all the

24      warships we've got in the free world, it's about 1,000 warships and that's enough to


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1       take on Russia, China, Iran if we have to.

2       That's the point.

3       America knows that.

4       President Trump knows that.

5       I think we don't need to worry about the alliance.

6       The alliance is the most successful political-military alliance in

     history and it's still

7       going strong.

8       FARAGE: Yes, I think that's right.

9       I really, really hope and pray that Trump, being as clear as he

     was, 100%, puts to

10      bed some of these really rather ridiculous-- And I think being used

     for political

11      reasons, stories.

12      Chris, the world did seem a safer place during Trump's four years

     than it does under

13      Biden's.

14      PARRY: Yes, there's no question about that.

15      I'm not a great fan of President Obama.

16      I think every crisis we've got in the world today, it's down to

     President Obama's

17      inaction.

18      Of course, President Biden was the vice president for Obama, and

     we're seeing a

19      continuation of that inaction and weakness that is perceived by

     these autocratic

20      rulers.

21      One word of caution I'll say is that when President Trump was in

     power, all the

22      academics and senior military I met from China and Russia said,

     "How do we deal

23      with this guy?" I said, "Well, you can't.

24      He's a businessman.

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1       You need to read the arts of the deal.?

2       They still don't know him now.

3       During his second term, he is going to have to come up with some

     other form of

4       statecraft to deal with these people because the likes of Putin and

     Xi Jinping, they

5       are all going to be waiting for him knowing what he did the first

     time, and seeing

6       whether he's actually got something else behind him.

7       FARAGE: A very interesting thought, Chris Parry.

8       Thank you very much indeed.

9       In a moment, I'll go head-to-head with a Democrat strategist.

10      We'll work out.

11      Was it a good interview?

12      Actually, does Trump look like he's going to be the 47th president

     of the United

13      States of America?

14      ANNOUNCER: Free Speech Nation.

15      Sunday nights, from 7:00 PM.

16      DOYLE: Our first question comes from Elliot.

17      Elliot, hello.

18      ELLIOT: Is Canada now an authoritarian state?

19      DOYLE: Elliot, I think it's been an authoritarian state for a

     while, under Trudeau.

20      This is a new thing now, and this is coming from the justice

     minister who has Arif

21      Virani, and he has defended this new power for their online harms

     bill.

22      That sounds familiar, we've got something quite similar.

23      They're saying they can now impose house arrest on someone who they

     think

24      might commit a hate crime in the future.

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1       That's scary stuff, isn't it?

2       SPEAKER 3: There's obviously a very dark side to this because, in

     my opinion, you

3       shouldn't be able to imprison somebody before they've done

     anything.

4       SPEAKER 4: Right?

5       SPEAKER 5: Well, it is Canada.

6       I know you in this country, you kind of respect Canada as a

     country.

7       America didn't even know it was a country until recently.

8       I think that's what they're trying to do.

9       They're trying to show themselves to be different than America.

10      DOYLE: I think America has a responsibility to invade.

11      You know what?

12      I do.

13      SPEAKER 5: You're kidding, but it may come down to this, or this

     may just be a--

14      Yes, maybe.

15      DOYLE: Well, I just think it's ridiculous, the idea of arresting

     someone.

16      Our government's bad enough, and the Scottish government's out of

     control, the

17      Irish government's out of control.

18      The Irish government's got a new hate crimes bill where they're

     talking about they

19      can seize your phone if they suspect you might have some material

     that could

20      potentially stir up hatred.

21      For God's sake, what does that mean?

22      Your phone's full of that kind of thing.

23      SPEAKER 5: The government knows that.

24      You're right, but it has to do with the bigger picture, which is Canada has sucked


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1       itself in on the big team world.

2       Sorry, I'm going to say it.

3       It's big team world.

4       What they're doing, this is not even a free speech issue.

5       This is just about silencing dissent against the Canadian

     government.

6       It has nothing to do with openness and talk, whatever.

7       It's like saying, "We don't want these people to spread their-

8       DOYLE: Opinions.

9       SPEAKER 5: -opinions."

10      DOYLE: Dangerous opinions.

11      That's what speech codes and hate speech laws always do.

12      DEWBERRY: I'm Michelle Dewberry, and I'm not here to tell you what

     to think.

13      I'd much rather hear what you have to say.

14      Send in your opinions to gbviews@gbnews.com.

15      Keep them clean, and you never know, I might read them out.

16      With my panel here on Dewbs & Co, we debate, we get stuck into the

     issues of the

17      day on a show where all views are welcome, especially yours.

18      GB News, The People's Channel, Britain's News Channel.

19      HARWOOD: 2024, a battleground year.

20      TOMINEY: The year the nation decides.

21      HOPE: As the parties gear up their campaigns for the next general

     election.

22      CARVER: Who will be left standing when the British people make one

     of the

23      biggest decisions of their lives?

24      CHRISTYS: Who will rise?

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1       UTLEY: And who will fall?

2       DEWBERRY: Let's find out together.

3       SPEAKER 1: For every moment, the highs, the lows, the twists and

     turns.

4       HARWOOD: We'll be with you for every step of this journey.

5       SPEAKER 1: In 2024, GB News is Britain's Election Channel.

6       FARAGE: Joining me is Democrat strategist Hank Sheinkopf.

7       Hank, have to say, I know you're on the other side of the argument

     from Trump, but

8       he does actually look increasingly confident about this year's

     election.

9       HANK SHEINKOPF: Certainly he does, and he should.

10      He's doing very well within his own party.

11      He was able to best the candidate within his own party that tried

     to defeat him in a

12      primary.

13      He's cleared the field and he controls his party, so why shouldn't

     he feel confident?

14      FARAGE: Yes, I get that.

15      What do the Democrats have to do, Hank?

16      Do they have to change strategy?

17      Has the time come to admit that somehow Biden is just not

     connecting?

18      SHEINKOPF: Well, you have to admit that Biden is somehow not

     connecting, but

19      we're now to April of 2024.

20      The election is November 2024.

21      There's a lot that can be done.

22      Really, elections are often won the last six weeks, here in the

     United States, of a

23      campaign.

24      These campaigns are interminable.

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1       They go on for a long time.

2       When I first started, the Presidential campaign ran from Labor Day

     September until

3       November.

4       Not anymore.

5       These are two-year events, so there's a lot that can be done.

6       FARAGE: There is.

7       Do you think it's going to be a tight one again?

8       Is it down to a few hundred thousand voters in half a dozen states?

9       SHEINKOPF: It is certainly going to be a tight one.

10      You probably mark this at three points, three to five at the top,

     between each of

11      them.

12      The question will be, what is the event that happens that switches

     the direction of

13      the campaign?

14      It's always something that goes on that is unexpected that will

     change the direction

15      one way or another.

16      FARAGE: That's a very, very fair comment.

17      Hank, thank you very much indeed for giving us your thoughts.

18      Picking up off the back of all of this at the top of the hour is

     Jacob Rees-Mogg.

19      Jacob, what have you got coming up?

20      JACOB REES-MOGG: I'm doing exactly what you say, your good advice.

21      I'm picking up on what you've been saying, this extraordinary story

     about Trump

22      saying there'd be a bloodbath if the car industry were closed down.

23      Nothing to do with riots.

24      This has been distorted by the left-wing media.

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1       I'll be talking about fake news and how that has a bad effect on

     our understanding

2       of what's going on in reality.

3       These pious lefties pretend they know the truth, and actually they

     peddle

4       disinformation.

5       FARAGE: I better get in touch with Mar-a-Lago and get Trump to

     listen in to your

6       show because I'd never heard of the term "fake news" until he came

     along.

7       Jacob, thank you very much.

8       I'll be back with you in London tomorrow, I hope very much.

9       All that remains is to say big thanks to Trump and his team and

     Mar-a-Lago for

10      hosting GB News.

11      I think it's been another really big step forward for our channel.

12      Our competitors will absolutely hate it.

13      [END OF AUDIO]

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2

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